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 8
                          IN THE UNITED STATES DISTRICT COURT
 9
                        FOR THE EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                   2:10-CR-00299-WBS
12               Plaintiff,
                                                 STIPULATION FOR FINAL ORDER OF
13        v.                                     FORFEITURE AND ORDER THEREON
14   JAMES REDMILL, et al.,
15               Defendants.
16
     SHARON HARRIS,
17
                 Petitioner.
18

19        IT IS HEREBY STIPULATED by and between the United States of America and
20 petitioner Sharon Harris, to compromise and settle her interest in the following property,

21 and to stipulate and consent to the entry of a Final Order of Forfeiture as to the following

22 property pursuant to 21 U.S.C. § 853(a):

23               a.     Real property located at 8250 Wild Turkey Road, Igo, California,
                        APN: 042-140-014-000.
24

25        This stipulation for Final Order of Forfeiture is entered into between the parties
26 pursuant to the following terms:
27        1.     On or about June 1, 2012, defendant James Redmill entered into a plea
28 agreement in which he pled guilty to violations of 21 U.S.C. §§ 846 and 841(a)(1)

                                                 1
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 1 (conspiracy to manufacture at least 1,000 marijuana plants). In the plea agreement

 2 James Redmill agreed to forfeit his right, title, and interest in the above-described real

 3 property, which is more fully described in Exhibit A attached hereto. The Court entered a

 4 Preliminary Order of Forfeiture on July 13, 2012, forfeiting defendant Redmill’s interest in

 5 the property. Pursuant to 21 U.S.C. § 853(n), the United States sent direct notice to

 6 Sharon Harris, John R. Perry, Brenda M. Perry and the Internal Revenue Service.

 7         2.    Beginning on August 18, 2012, for at least 30 consecutive days, the United
 8 States published notice of the Court’s Order of Forfeiture on the official internet

 9 government forfeiture site www.forfeiture.gov. Said published notice advised all third
10 parties of their right to petition the Court within sixty (60) days from the first day of

11 publication of the notice for a hearing to adjudicate the validity of their alleged legal

12 interest in the forfeited property. A Declaration of Publication was filed on November 2,

13 2012.

14         3.    On November 29, 2012, Sharon Harris filed a Petition for an Ancillary
15 Hearing claiming a partial interest in the real property located at 8250 Wild Turkey Road,

16 Igo, California, APN: 042-140-014-000.

17         4.    The United States received a letter dated April 28, 2013, from Brenda Perry
18 stating that the loan on the real property located at 8250 Wild Turkey Road, Igo,

19 California, APN: 042-140-014-000, has been paid in full. That letter is attached as Exhibit

20 B. No other party or entity has filed a petition asserting an interest in the real property,

21 and the time in which any person or entity may file a petition has expired.

22         5.    The United States and petitioner Sharon Harris have reached a settlement
23 regarding her interest in the real property. The parties further stipulate that the

24 Preliminary Order of Forfeiture remains valid to the extent it orders the forfeiture of

25 James Redmill’s interest in the real property.

26         6.    Sharon Harris has agreed to pay the United States a sub res in the amount of
27 $6,000.00 in lieu of the United States forfeiting the real property located at 8250 Wild

28 Turkey Road, Igo, California. The sub res shall be paid within thirty (30) days of signing

                                                   2
                                                               Stipulation for Final Order of Forfeiture
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 1 this Stipulation. Sharon Harris shall send the $6,000.00 sub res in the form of a cashier’s

 2 check, payable to the U.S. Marshals Service, to the following address: U.S. Attorney’s

 3 Office, Att: Asset Forfeiture Unit, 501 I Street, Suite 10-100, Sacramento, California

 4 95814. Said funds shall be forfeited to the United States pursuant to 21 U.S.C. § 853(a).

 5         7.    If the sub res of $6,000.00 is not paid within thirty (30) days of signing this
 6 Stipulation, then Sharon Harris forfeits all of her right, title, and interest in the real

 7 property located at 8250 Wild Turkey Road, Igo, California, APN: 042-140-014-000, and

 8 the U.S. Marshals Service shall be authorized to sell the real property.

 9         8.    Petitioner Sharon Harris agrees to release and hold harmless the United
10 States, and any agents, servants, and employees of the United States (and any involved

11 state or local law enforcement agencies and their agents, servants, or employees), in their

12 individual or official capacities, from any and all claims that currently exist or that may

13 arise as a result of the Government’s actions against and relating to the real property. As

14 against the United States and its agents, petitioner Sharon Harris agrees to waive the

15 provisions of California Civil Code § 1542, which provides:

16               "A general release does not extend to claims which the creditor
                 does not know or suspect to exist in his or her favor at the time
17               of executing the release, which if known by him or her must
                 have materially affected his or her settlement with the debtor."
18

19         9.    Petitioner understands and agrees that by entering into this stipulation of
20 her interest in the above-listed property, she waives any right to litigate further her

21 ownership interest in the above-listed property and to petition for remission or mitigation

22 of the forfeiture. Thereafter, if this Stipulation for Final Order of Forfeiture is approved

23 by the Court, then unless specifically directed by an order of the Court, Sharon Harris

24 shall be excused and relieved from further participation in this action.

25         10.   If the $6,000.00 is not paid within thirty (30) days of signing this Stipulation,
26 the parties agree to execute further documents, to the extent reasonably necessary, to
27 convey clear title to the above-listed property to the United States and to implement

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                                                   3
                                                               Stipulation for Final Order of Forfeiture
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 1 further the terms of this Stipulation. Each party agrees to bear its own costs and

 2 attorneys’ fees.

 3        11.    Within thirty days of receipt of the $6,000.00 and entry of this Final Order of
 4 Forfeiture, the United States shall send a Notice of Withdrawal of Lis Pendens to the

 5 county recorder.

 6        12.    The terms of this Stipulation shall be subject to approval by the United
 7 States District Court. Violation of any term or condition herein shall be construed as a

 8 violation of an order of the Court.

 9        13.    The court shall maintain jurisdiction over this matter to enforce the terms of
10 this stipulation.

11 DATED: 6/13/14                                 BENJAMIN B. WAGNER
                                                  United States Attorney
12

13                                                /s/ Kevin C. Khasigian__________
                                                  KEVIN C. KHASIGIAN
14                                                Assistant U.S. Attorney
15
     DATED: 6-4-2014                              /s/ Sharon Harris_____
16                                                SHARON HARRIS
                                                  Petitioner
17

18 DATED: _6/12/14                                /s/ Chris Cosca
                                                  CHRIS COSCA
19                                                Attorney for Petitioner Sharon Harris
20                                                (Original signatures retained by attorney)

21                                           ORDER

22        The Court having received, read, and considered the foregoing Stipulation of the

23 parties, and good cause appearing therefrom, the Stipulated Settlement is hereby

24 ADOPTED and APPROVED, and the Court hereby enters a Final Order of Forfeiture on

25 the terms set forth in the parties’ Stipulated Settlement.

26        IT IS SO ORDERED.

27 Dated: June 16, 2014

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                                                 4
                                                             Stipulation for Final Order of Forfeiture
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 1

 2
                                         Exhibit A
 3                                   Legal Description
              Real property located at 8250 Wild Turkey Road, Igo, California
 4
   LOT 134, AS SHOWN ON THE RECORD SURVEY FOR SHASTA ACRES, INC.,
 5 RECORDED SEPTEMBER 12, 1969 IN BOOK 34 OF LAND SURVEYS AT PAGE 20,
   SHASTA COUNTY RECORDS.
 6
   EXCEPTING THEREFROM AN UNDIVIDED FIFTY PERCENT (50%) INTEREST IN
 7 AND TO ALL OIL, GAS, HYDROCARBON SUBSTANCES AND OTHER MINERALS IN
   AND UNDER SAID LAND, WITHOUT THE RIGHT TO ENTER UPON THE SURFACE
 8 OF SAID LAND OR THE UPPER FIVE HUNDRED (500) FEET, AS RESERVED IN THE
   DEED EXECUTED BY JOHN V. CRAWFORD AND THOMAS H. CRAWFORD, AS
 9 EXECUTORS OF THE WILL OF CLARENCE HARRISON CRAWFORD, DECEASED,
   TO SHASTA ACRES, INC., A CALIFORNIA CORPORATION, RECORDED DECEMBER
10 31, 1968, IN BOOK 977 OF OFFICIAL RECORDS AT PAGE 22, SHASTA COUNTY
   RECORDS.
11
   ASSESSOR’S PARCEL NUMBER 042-140-014-000
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                                                        Stipulation for Final Order of Forfeiture
30                                                      and Order Thereon
